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 9
                              UNITED STATES DISTRICT COURT
10
                               FOR THE DISTRICT OF NEVADA
11
      CIARA WILLIAMS, an individual,
12
                            Plaintiff,                    Case No. 2:19-cv-00477-CJC-FFM
13

14                                                          PLAINTIFF’S MOTION TO
                                                               REMAND AND FOR
15          vs.                                              ATTORNEY’S FEES AND
                                                                    COSTS
16

17    SILVINO HINOJOSA, TOPGOLF USA LAS
      VEGAS, LLC, TOPGOLF INTERNATIONAL,
18    INC. d/b/a TOPGOLF ENTERTAINMENT
      GROUP, DOES I through X, inclusive, and
19
      ROES I through X, inclusive,
20

21                          Defendants.
22

23
            COMES NOW, Plaintiff Ciara Williams (“Plaintiff”), pursuant to 28 U.S.C. §1447(c),
24
     and for the reasons set forth in the accompanying Memorandum of Points and Authorities and
25
     supporting papers, moves this Court to immediately remand this action to the Eighth Judicial
26
     District Court of the State of Nevada, and for just attorney’s fees and costs incurred, on
27
     grounds that Defendant TopGolf USA Las Vegas, LLC (“TopGolf”)’s removal was untimely.
28

                                                   1
            PLAINTIFF’S MOTION TO REMAND AND FOR ATTORNEY’S FEES AND COSTS
           Case 2:20-cv-01871-RFB-NJK Document 14 Filed 11/06/20 Page 2 of 12




 1          Dated: November 6th, 2020                   Respectfully submitted,
 2                                                      By: James J. Lee
 3                                                       James J. Lee
                                                        NV Bar No. 1909
 4                                                      2620 Regatta Dr., Suite #102
                                                        Las Vegas, NV 89128
 5
                                                        Attorney for Plaintiff Ciara Williams
 6

 7                       MEMORANDUM OF POINTS AND AUTHORITIES
 8
                                         I.      Introduction
 9
            TopGolf’s removal of this action is untimely. On June 18, 2020, in Plaintiff’s Motion to
10
     Amend her operative complaint (Plaintiff’s Second Amended Complaint, “SAC”) filed in
11
     Nevada state court, TopGolf received unequivocal notice that Plaintiff’s pre-existing cause of
12
     action for sexual harassment was mislabeled as arising under Nevada law (NRS 613.330),
13
     when in fact it was grounded in Title VII of the Civil Rights Act of 1964 (“Title VII”), and
14
     therefore notice of removability. Though the thrust of the June 18, 2020 motion was to add a
15
     Doe Defendant, TopGolf International Inc., LLC. the motion also informed Defendant and the
16
     Court of the aforementioned mislabeling. Notably, it did not request the right to add a sexual
17
     harassment claim, nor to add any new allegations, (additions which the Court may or may not
18
     have allowed) because the sexual harassment claim already existed. Thus, TopGolf’s reliance
19
     on the rule that the window to remove starts to run when a court grants a motion to amend is
20

21   misplaced because the reason for the rule is the court could deny leave to add a new federal

22   claim. That is not the case here.

23          Even if the Court had denied Plaintiff’s recent Motion to Amend, the granting of which

24   TopGolf used to calculate the timing of this removal, TopGolf would still be charged with the

25   knowledge of removability rising out of Plaintiff’s operative complaint, the Second Amended

26   Complaint as soon as her June 18, 2020 Motion to Amend was filed. The removability of this
27   action could be clearly ascertained from the language of the Motion to Amend itself, without
28   regard to the “proposed Third Amended Complaint” attached to it. As such, the latest 30-day

                                                    2
             PLAINTIFF’S MOTION TO REMAND AND FOR ATTORNEY’S FEES AND COSTS
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 1   window ran out on July 18, 2020. TopGolf did not file its Petition to Remove until October 7,
 2   2020 (ECF No. 1). What is more, TopGolf knew or should have known that Plaintiff’s eighth
 3   cause of action was mislabeled as early as June 20, 2019, when, in her Opposition and
 4   subsequent Sur-Reply to TopGolf’s March 29, 2019 Motion to Dismiss her First Amended
 5
     Complaint (“FAC”), and during oral argument on the dispositive motion, Plaintiff moved the
 6
     court for the right to amend and add a cause of action for sexual harassment under Title VII,
 7
     and that motion was granted. (See, June 20, 2019 Minute Order, attached hereto as Exhibit 1).
 8
            Though Plaintiff’s subsequent Second Amended Complaint (“SAC”) labeled her sexual
 9
     harassment claim as arising out of NRS 613.330, Nevada state anti-discrimination law,
10
     Plaintiff had never filed a charge, let alone exhausted her administrative remedies with the
11
     Nevada Equal Rights Commission (“NERC”) to proceed under Nevada law. This should have
12
     been clear in Plaintiff’s Sur-Reply to TopGolf’s Motion to Dismiss when Plaintiff attached her
13
     Right to Sue from the Equal Employment Opportunity Commission (“EEOC”) and made no
14
     mention of NERC. TopGolf could have no doubt that Plaintiff was proceeding under Title VII
15
     after it subpoenaed NERC and on December 3, 2019 found that it had “no documents” relating
16
     to Plaintiff. Thus, TopGolf was on further unequivocal notice in December 2019 that Plaintiff’s
17

18   eighth cause of action in her Second Amended Complaint could only be construed as a Title

19   VII claim and that any claim under Nevada’s anti-discrimination statute was not viable.

20                       II.     Relevant Factual and Procedural Background

21          On May 11, 2018, Plaintiff filed her complaint in state court articulating common law

22   tort causes of action to preserve certain statutes of limitations. On July 12, 2018, Plaintiff filed

23   her charge of sexual harassment with the EEOC, attached hereto as Exhibit 2. TopGolf
24   received a copy of the charge in the normal course. On January 7, 2019, Plaintiff filed her
25   First Amended Complaint (“FAC”). On March 28, 2019, TopGolf filed a Motion to Dismiss
26   Plaintiff’s Amended Complaint, attached hereto as Exhibit 3. In its Motion, TopGolf wrote:
27
            “Plaintiff failed to exhaust her administrative remedies, thus preventing her from
28          pleading proper employment discrimination claims . . . as a matter of law, Plaintiff is

                                                       3
             PLAINTIFF’S MOTION TO REMAND AND FOR ATTORNEY’S FEES AND COSTS
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             prevented from pursuing her time-barred employment discrimination claims now
 1
             shrouded in the cloak of tort, compelling dismissal.” (Ex. 2, p. 12-13, ll. 27-3).
 2
             On March 27, 2019, Plaintiff received her right to sue letter, attached hereto as Exhibit
 3
     4. On April 19, 2019, Plaintiff filed her opposition to TopGolf’s Motion to Dismiss, attached
 4
     hereto as Exhibit 5. In the opposition Plaintiff wrote:
 5
             “. . .Plaintiff respectfully requests an opportunity to amend. For example, if the Court
 6
             concludes that Plaintiff must assert a cause of action under Title VII to maintain her
 7           right to proceed, Plaintiff should be allowed to do so. As TopGolf undoubtedly knows
             by now, Plaintiff timely filed a charge with the EEOC and recently received a right to
 8           sue allowing her to proceed under anti-discrimination law.” (emphasis added). (Ex.
             5, p. 11, ll. 5-10)
 9

10           On May 21, 2019, in its Reply attached hereto as Exhibit 6, TopGolf wrote:

11           “. . .Plaintiff has effectively conceded that her current, fatally-flawed, tort-based lawsuit
             is actually a statutory employment lawsuit that should have been filed in federal court.
12
             there is no way for this Court or TopGolf to assess whether leave to amend to add the
13           Title VII should be granted or not. While Plaintiff claims to have filed a charge of
             discrimination, her response is totally devoid of any information that would establish
14           her charge of discrimination was timely, thus procedurally positioning her to proceed
             with the Title VII claims.” (Ex. 6, p. 10, ll. 1-2) (emphasis added).
15

16
     Critically, in a foot note to the above, TopGolf further wrote, “If leave to amend the Title
17
     VII claim is appropriate and granted, Defendant will proceed to remove this case to
18
     federal court.” (Id. p. 9, l. 28) (emphasis added). Yet when leave was granted, TopGolf never
19
     did.
20
             On June 13, 2019, Plaintiff filed a Motion to File Sur-Reply and Sur-Reply1, attached
21
     hereto as Exhibit 7. In the Sur-Reply Plaintiff wrote, “contrary to TopGolf’s assertion,
22
     Plaintiff timely filed the discrimination charge with the EEOC and received a right to sue.
23
     Therefore, Plaintiff has the right to file a Title VII action.” (Ex. 7, p. 5, ll. 2-4). The Sur-Reply
24
     included a copy of Plaintiff’s Right to Sue. On June 20, 2019, the state court entered its
25

26

27   1
      The Court granted the Motion to filed Sur-Reply during oral argument on June 20, 2020 and considered the Sur-
     Reply when deciding on TopGolf’s Motion to Dismiss and Plaintiff’s Motion to Amend her FAC. (Ex. 1).
28

                                                            4
             PLAINTIFF’S MOTION TO REMAND AND FOR ATTORNEY’S FEES AND COSTS
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 1   Minute Order granting Plaintiff’s motion to amend to add a cause of action for sexual
 2   harassment under Title VII. (Ex. 1).
 3          On June 28, 2019 Plaintiff filed her Second Amended Complaint (“SAC”), attached
 4   hereto as Exhibit 8, asserting ten causes of action, including her eighth cause of action labeled
 5
     as “Sexual Harassment NRS 613.330” (Ex. 8, p. 14). On July 12, 2019, TopGolf filed its
 6
     answer to Plaintiff’s SAC. (ECF No. 1, Ex. 7)
 7
            On November 8, 2019, TopGolf served a subpoena on NERC and on December 3,
 8
     2019, in response to the subpoena received a Certificate of Custodian of Records for the NERC,
 9
     attached hereto as Exhibit 9, that stated no records existed relating to Plaintiff as a charging or
10
     party or TopGolf as a respondent.
11
            On June 18, 2020, Plaintiff filed a Motion to Amend her SAC and attached thereto a
12
     “proposed Third Amended Complaint,” attached hereto as Exhibit 10. That Motion stated that
13
     the proposed amendment “identifies a previously unnamed Roe Corporation Defendant” and
14
     “corrects a mislabeling of Plaintiff’s sexual harassment claim to indicate that it is a Title VII
15
     claim . . .” (Ex. 10, p. 5, ll. 11-13). The motion went on to elaborate:
16
            “C. TopGolf Defendants had Adequate Notice that Plaintiff’s Claims Arise out of
17
            Title VII
18
            Plaintiff has relabeled her sexual harassment cause of action as a Title VII claim.
19          Plaintiff timely filed a charge of discrimination against TopGolf Defendants on July 12,
            2018, and Plaintiff received a right to sue on March 27, 2019. A copy of this Right to
20
            Sue letter was mailed to TopGolf LV on that date as a matter of course. Moreover, the
21          Right to Sue letter was referenced in Plaintiff’s Opposition to TopGolf’s Motion to
            Dismiss her amended complaint, filed on April 19, 2020. Conversely, TopGolf
22          Defendants knew that Plaintiff did not exhaust her administrative remedies in order to
            bring her claims under NRS 613.330, because she did not timely file a charge with the
23
            Nevada Equal Rights Commission. TopGolf knew this because it subpoenaed the
24          Nevada Equal Rights Commission on November 18, 2019 and on December 3, 2019
            received no records relating to Plaintiff.” (Id. p. 7, ll 4-16).” (emphasis added).
25
            TopGolf filed its Notice of Non-Opposition to Plaintiff’s Motion to Amend on July 2,
26
     2020. (ECF No. 1, Ex 9). On September 7, 2020, the state court entered an Order granting
27
     Plaintiff’s Motion to Amend, attached hereto as Exhibit 11, and requiring Plaintiff to file her
28

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             PLAINTIFF’S MOTION TO REMAND AND FOR ATTORNEY’S FEES AND COSTS
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 1   Third Amended Complaint within 10 days of the Notice of Entry of the Order (September 18,
 2   2020). On September 4, 2020, Plaintiff filed a Motion to Enlarge Time to File Her Third
 3   Amended Complaint (“Motion to Enlarge”) due to the fact that the parties were in the midst of
 4   conducting depositions of key witnesses, attached hereto as Exhibit 12. TopGolf filed its
 5
     Opposition to this Motion on September 17, 2020. (Attached hereto as Exhibit 13).
 6
            The state court had not yet heard or ruled on Plaintiff’s Motion to Enlarge, nor had
 7
     Plaintiff actually filed her Third Amended Complaint, when on October 7, 2020, TopGolf
 8
     filed its Petition for Removal from Eighth Judicial District Court (ECF. No. 1). On October
 9
     15, 2020, TopGolf filed its Answer to Plaintiff’s unfiled proposed Third Amended Complaint.
10
     (ECF. No. 7). On October 22, 2020, pursuant to this Court’s October 8, 2020 Minute Order,
11
     TopGolf filed its Statement Regarding Removal. (ECF. No. 10)
12
                                              III.    Standard
13
            “Removal statutes are strictly construed against removal.” Luther v. Countrywide Home
14
     Loans Servicing LP, 533 F.3d 1031, 1032 (9th Cir. 2008). “Federal Jurisdiction must be
15
     rejected if there is any doubt as to the right of removal in the first instance.” Gaus v. Miles, Inc.,
16
     980 F.2d 564, 565 (9th Cir. 1992). “The strong presumption against removal means the
17

18   Defendant always has the burden of establishing that removal is proper.” Id. (internal

19   quotations omitted).

20          28 U.S.C. §1446(b)(3) allows a Defendant to remove during one of two 30-day

21   windows: (1) When a Defendant receives an initial pleading that makes removability apparent

22   on its face, or (2) if the initial pleading is not removable on its face, when a defendant receives

23   “a copy of an amended pleading, motion, order, or other paper from which it may be first
24   ascertained that the case is one which has become removable.” 28 U.S.C. §1446(b)(1)-(3).
25   Roth v. CHA Hollywood Med. Ctr., L.P., 720 F.3d 1125 (9th Cir. 2013).
26          In the Ninth Circuit, courts must determine notice of removability—the triggering of
27   the deadline under 28 U.S.C. §1446(b)(3)—“through an examination of the four corners of the
28   applicable pleadings, not through subjective knowledge or a duty to make further inquiry.”
                                                        6
             PLAINTIFF’S MOTION TO REMAND AND FOR ATTORNEY’S FEES AND COSTS
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 1   Harris v. Bankers Life & Cas. Co., 425 F.3d 689, 694 (9th Cir. 2005).“The applicable
 2   pleadings” include the face of the initial pleading and the documents exchanged in the case by
 3   the parties. The statutory term, “other paper” has been broadly interpreted within the Ninth
 4   Circuit and includes “all documents generated within the state court case” such as motion,
 5
     reply briefs, responses to interrogatories, deposition questions, discovery requests, and
 6
     settlement letters. Rodriguez v. Boeing Co., No. CV 14-04265-RSWL (AGRx), 2014 U.S. Dist.
 7
     LEXIS 106798, at *16 (C.D. Cal. Aug. 1, 2014) (internal citations omitted).
 8
            In Reyes v. Dollar Tree Store, Inc., 781 F.3d 1185, 1189 (9th Cir. 2015), the Court held
 9
     that the deadline is triggered upon receipt of documents or “occurrence of an event ‘that
10
     discloses that the case is or has become removable’” (quoting Sullivan v. Conway, 157 F.3d
11
     1092, 1094 (7th Cir. 1998)); Durham, 445 F.3d at 1253 (holding “thirty-day clock starts
12
     ticking” once “defendant receives enough facts to remove on any basis under section 1441”
13
     and courts “charge defendants with notice of removability [as soon as] they’ve received a
14
     paper that gives them enough information to remove.” (emphasis added).
15

16                                         IV.     Argument

17              1. TopGolf had Enough Information to Remove When it Received the State
18
                   Court’s June 20, 2019 Order Granting Plaintiff’s Motion to Amend to Add a
                   Cause of Action for Sexual Harassment Under Title VII
19
            The first window to remove this action to Federal court began to run on June 20, 2019,
20
     when the State Court granted Plaintiff’s Motion to Amend to add a cause of action under Title
21
     VII for sexual harassment. (Ex. 1). Sullivan v. Conway, 157 F.3d 1092 (7th Cir. 1998) (Time
22
     for removal begins when state court grants motion to amend not when motion is filed because
23
     state court may not grant amendment). The time for removal ran out 30 days after the court
24
     entered its order allowing the amendment, or on July 20th, 2019. TopGolf did not remove
25
     during that period.
26
            On June 28, 2019, Plaintiff filed her Second Amended Complaint which remains the
27
     only operative complaint in this action. Although the eighth cause of action in the Second
28

                                                    7
            PLAINTIFF’S MOTION TO REMAND AND FOR ATTORNEY’S FEES AND COSTS
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 1   Amended Complaint for sexual harassment is labeled “Sexual Harassment NRS 616.660,” the
 2   Nevada law citation is clearly erroneous because Plaintiff had no viable cause of action under
 3   Nevada’s anti-discrimination laws. She had failed to exhaust her remedies.
 4          TopGolf’s legal basis for removal now, nearly a year and a half later, all rest on this
 5
     notion that the clock starts ticking as soon as a motion to amend to add a federal cause of
 6
     action is granted. TopGolf knew of this rule back in 2019: TopGolf stated in its own May 21,
 7
     2019 Reply in Support of its Motion to Dismiss her FAC that if the state court granted
 8
     Plaintiff’s Motion to Amend to add a claim for sexual harassment under Title VII, it would
 9
     remove this action to Federal Court. (Ex. 6, p. 9, l. 28)
10
            According to TopGolf’s own interpretation of the Ninth Circuit’s rule and TopGolf’s
11
     reasoning as to why this removal is timely (despite the fact that Plaintiff’s proposed Third
12
     Amended Complaint was not yet operative, Brewer v. Hatton, 2017 U.S. Dist. LEXIS 136236,
13
     2017 WL 3635824, at *1 (N.D. Cal. Aug. 24, 2017) [“a proposed amended complaint that on
14
     its face would provide a basis for subject matter jurisdiction does not become removable until
15
     it becomes the operative complaint in the case.” (emphasis added]), TopGolf must admit that
16
     removability was clear as soon as the state court granted Plaintiff’s first Motion to Amend to
17

18   add a cause of action for Title VII on June, 20, 2019, (Ex. 1). TopGolf cannot be permitted—

19   consistent with the courts’ disfavor for removal—to rely on an inconsistency in one document

20   (Plaintiff’s Second Amended Complaint and its mistaken citation to a non-viable legal basis for

21   its statutory anti-employment discrimination claim) to conclude the case was not removable in

22   2019, when so many other pleadings, documents, and circumstances surrounding her operative

23   complaint indicated that Plaintiff could only be proceeding under the federal statute.
24          The removal statue requires a defendant “to apply a reasonable amount of
25   intelligence in ascertaining removability.” Kuxhausen v. BMW Financial Services NA LLC, 707
26 F.3d at 1140 (9th Cir. 2013) at 1140 (quoting Whitaker v. Am. Telecasting, Inc., 261 F.3d 196, 206

27 (2d Cir. 2001)) (emphasis added). While the removing party owes no duty to engage in guesswork,

28 a defendant may not “ignore pleadings or other documents from which removability may be

                                                       8
             PLAINTIFF’S MOTION TO REMAND AND FOR ATTORNEY’S FEES AND COSTS
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 1 ascertained and seek removal only when it becomes strategically advantageous for it to do so.”

 2 Roth v. CHA Hollywood Medical Center, L.P., 720 F.3d 1121, 1125 (9th Cir. 2013) (emphasis

 3 added). Inconsistent pleadings and other papers do not stop the triggering of the removal

 4 deadlines. Stone v. Travelers Property Cas. Ins. Co., 2015 WL 7430563, at *2 (E.D. Cal. Nov. 23,

 5
     2015). (emphasis added).
 6
             Here, the label of Plaintiff’s eighth cause of action in her Second Amended Complaint was
 7
     inconsistent with all of the surrounding documents and circumstances, and as indicated in its 2019
 8
     Reply, and now as reiterated in its Petition to Remove, and Statement Regarding Removability,
 9
     TopGolf knew that. (Ex. 6, p. 9, l. 28; ECF No. 1, p. 3, ll. 7-11; and ECF No. 10, p. 3, ¶5).).
10
     TopGolf was thus required to ascertain 2 removability when the Court granted Plaintiff’s first
11
     Motion to Amend. At most, the subsequent conflict between Plaintiff’s original Motion to Amend
12
     to add a Title VII cause of action and the actual Second Amended Complaint’s sexual harassment
13
     cause of action under Nevada law created an ambiguity as to removability. Courts must strictly
14
     construe the removal statutes and resolve “any doubt” against removability. Hawaii ex rel. Louie v.
15
     HSBC Bank Nevada, N.A., 761 F.3d 1027, 1034 (9th Cir. 2014) (quoting Luther v. Countrywide
16
     Home Loans Servicing LP, 533 F.3d 1031, 1034 (9th Cir. 2008)); see also Shamrock Oil & Gas
17

18 Corp. v. Sheets, 313 U.S. 100, 108-09, 61 S.Ct. 868, 872, 85 L.Ed. 1214 (1941). Therefore, courts

19 are to “resolve[] all ambiguity in favor of remand to state court.” Hunter v. Phillip Morris USA,

20 582 F.3d 1039, 1042 (9th Cir. 2009).

21               2. Plaintiffs June 18, 2020 Motion to Amend Explicitly Disclosed that this Case
                    Was and Is Removable Without Regard to the Proposed Amended Complaint
22
             In her June 18, 2020 Motion to Amend, in contrast to the cases TopGolf cites, Plaintiff
23
     did not propose adding a new cause of action for sexual harassment under Title VII, see, i.e.,
24

25
     Torres v. Chevron U.S.A., Inc., 2004 U.S. Dist. LEXIS 21332, 2004 WL 2348274, *2 (N.D.

26
    Ascertain is a verb, connoting action, which means “to come upon after searching, study, or effort,” and has
     2

   synonyms including find, detect, determine, and discover. See Merriam-Webster Thesaurus, http://www.merriam-
27
   webster.com/thesaurus/ascertain (last visited on November 5, 2029). In the context of 28 U.S.C. § 1446(b)(3), a
   defendant must take an active role in reviewing and applying intelligence to all documents produced in the case.
28

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             PLAINTIFF’S MOTION TO REMAND AND FOR ATTORNEY’S FEES AND COSTS
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 1   Cal. 2004) (removal prior to court granting motion to amend complaint to assert new federal
 2   claims premature). Rather, as shown above, in her second June 18, 2020 Motion to Amend,
 3   Plaintiff simply pointed out that her Second Amended Complaint a mislabeling.
 4          TopGolf’s premise that the action did not become removable until the state court
 5
     granted Plaintiff’s most recent Motion to Amend is based on the idea that Plaintiff sought leave
 6
     of the state court to file a new cause of action for sexual harassment that the court may or may
 7
     not have granted. Therefore, TopGolf claims it was entitled to wait until this second Motion to
 8
     Amend was granted to start the 30-day removal period. This ignores the fact that Plaintiffs
 9
     June 18, 2020 Motion did not propose adding a new cause of action for sexual harassment.
10
     Indeed, the language for the sexual harassment claim in the Second Amended Complaint and
11
     proposed Third Amended Complaint is identical except for the label.
12
            The notice in the Motion to Amend of the mislabeling was no different than if Plaintiff
13
     had filed an errata correcting the mistake or written a letter to Defendant’s counsel pointing out
14
     what should have already been abundantly clear. Had Plaintiff done so, or had TopGolf, if it
15
     had any doubt as to removability, at any point in the last year and a half of litigation asked
16
     Plaintiff if she was proceeding under Title VII, there can be no doubt that TopGolf would have
17

18   been on immediate notice of removability. Even if the state court denied Plaintiff’s most recent

19   Motion to Amend, this case would have still been removable upon receipt of this notice. Roth,

20 720 F.3d at 1125 (holding deadline triggered as soon as plaintiff “reveal[s] information showing

21 removability”).

22              3. This Court Should Remand and Order TopGolf to Pay Plaintiff Attorney’s
23                 Fees and Costs in Connection With This Motion.
            Pursuant to 28 U.S.C. § 1447(c), “[a]n order remanding the case may require payment of
24

25
     just costs and any actual expenses, including attorney fees, incurred as a result of the removal.”

26 Awards are proper under § 1447(c) if “the removing party lacked an objectively reasonable basis

27 for seeking removal.” Martin v. Franklin Capital Corp., 546 U.S. 131, 141 (2005). TopGolf lacked

28 an objectively reasonable basis to remove when it did. Removal is disfavored. The statutes

                                                     10
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 1 governing it are strictly construed, because removal burdens the courts and diminishes the parties’

 2 resources. By removing, TopGolf has forced an at least 60-day delay in the litigation process in this

 3 action and interrupted discovery which was ongoing and at a critical stage. It had no basis for its

 4 actions, and cost Plaintiff scarce resources. Plaintiff should simply not have had to address

 5
     TopGolf’s baseless removal and nor should this Court. Plaintiff respectfully requests that she be
 6
     allowed to submit affidavits and appropriate documentation to support a claim for reasonable
 7
     attorney’s fees incurred.
 8
                                             V.     Conclusion
 9
             For the reasons set forth above, the Court should remand this action to the Nevada state
10
     court and order Defendants to pay an award of fees and costs.
11

12   Dated this 6th day of November, 2020.
13                                                 Respectfully submitted:

14                                                 LEGAL OFFICES OF JAMES J. LEE
15                                                 /s/ James J. Lee
16                                                 James J. Lee
                                                   NV Bar No. 1909
17                                                 2620 Regatta Dr., Suite #102
                                                   Las Vegas, NV 89128
18                                                 Attorney for Plaintiff Ciara Williams
19

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21

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             PLAINTIFF’S MOTION TO REMAND AND FOR ATTORNEY’S FEES AND COSTS
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                                    CERTIFICATE OF SERVICE
 1

 2
            I hereby certify that I electronically transmitted the foregoing PLAINTIFF’S
 3
     MOTION TO REMAND AND FOR ATTORNEY’S FEES AND COSTS to the Clerk’s
 4
     Office using the CM/ECF System for filing and transmittal of a Notice of Electronic Filing to
 5
     the following CM/ECF registrants:
 6
     Suzanne Martin
 7
     Erica Chee
 8

 9   Pursuant to FRCP 5(b), I hereby further certify that service of the foregoing was made on

10   November 7, 2020 by depositing a true and correct copy of same for mailing, first-class mail,

11   postage prepaid thereon, at Las Vegas, Nevada, addressed to the following:

12
   Silvino Hinojosa, ID #01722886
13 Clark County Detention Center
   330 S. Casino Center Boulevard
14 Las Vegas, NV 89101-6102
   Defendant in pro se
15

16          DATED this 6th day of November, 2020.
17

18                                              /s/ Isabella Lee
                                                An employee of Legal Offices of James J. Lee
19

20

21

22

23

24

25

26

27

28

                                                   12
                                     CERTIFICATION OF SERVICE
